
	OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. OBERST

	
				
            
    OSCN navigation


    
        Home

        
        Courts

        
        Court Dockets

        
        Legal Research

        
        Calendar

        
        Help
    





				
					
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
			

        
            
				
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. OBERST2014 OK 79Case Number: SCBD-6157Decided: 09/22/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 79, __ P.3d __
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION Complainant,
v.
KEATON JAMES OBERST Respondent.




ORDER APPROVING RESIGNATION 


¶1 On August 29, 2014, the Oklahoma Bar Association (Bar Association), notified the Court that the respondent, Keaton James Oberst (respondent), resigned from the Oklahoma Bar Association pending disciplinary proceedings. The disciplinary proceedings relate to: abandonment of clients, failure to withdraw from cases, failure to communicate with clients and the Bar Association.

¶2 THE COURT FINDS:



1. The respondent has voluntarily resigned from the Oklahoma Bar Association by complying with Rule 8.1 and Rule 8.2, Rules Governing Disciplinary Proceedings, 5 O.S. 2011 Ch. 1, App. 1-A.

The respondent's affidavit of resignation reflects that: a) it was freely and voluntarily rendered; b) he was not subject to coercion or duress; and c) he was fully aware of the consequences of submitting the resignation.

2. The respondent states that he is aware of the grievances against him.

3. The respondent states in his affidavit of resignation that he is aware that the allegations of conduct, if proven, would be a violation of Rules 1.1, 1.3, 1.4, 1.16(d), 3.2, and 8.4(a)(d), of the Oklahoma Rules of Professional Conduct, 5 O.S. 2011, Ch. 1, App. 3-A and Rule 1.3 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A and of his oath as an attorney.

4. The respondent's resignation pending disciplinary proceedings is in compliance with all of the requirements set forth in Rule 8.1, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A and it should be approved.

5. The official roster address of the respondent as shown by the Oklahoma Bar Association is: 505 Cooper Court, Norman, OK 73071.

6. The Bar Association has asked that the imposition of minimal costs be assessed and the respondent agrees to pay the costs incurred in this proceeding.



IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Keaton James Oberst resignation pending discipline be approved.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Keaton James Oberst name be stricken from the roll of attorneys. Because resignation pending disciplinary proceedings is tantamount to disbarment, the respondent may not make an application for reinstatement prior to the expiration of 5 years from the date of this order. Pursuant to Rule 9.1, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A, the respondent shall notify all of his clients, if any, having legal business pending with him within 20 days, by certified mail, of his inability to represent them and of the necessity for promptly retaining new counsel. The Bar Association is awarded costs of $19.99 in this proceeding which are due within 10 days of the filing of this order.

DONE BY ORDER OF THE SUPREME COURT THIS 22nd DAY OF SEPTEMBER, 2014.


/S/CHIEF JUSTICE



COLBERT, C.J., REIF, V.C.J., KAUGER, WINCHESTER, EDMONDSON, TAYLOR, COMBS, GURICH, JJ., concur.

WATT, J., concurs in result.







	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		